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                   Levine Kellogg Lehman Schneider + Grossman LLP
                                             22nd Floor, Miami Center
                                               201 S. Biscayne Blvd.
                                               Miami, Florida 33131
                                              Tax ID No. XX-XXXXXXX




     Tax l.D.: XX-XXXXXXX


     Jeffrey C. Schneider, as Receiver                                                        June 18, 2013
     for Trade-LLC, BO LLC, TWTT-LLC                                                             Bill# 6611
     and CMJ Capital LLC

     Re:           78509-003
                   Trade LLC - Receivership

                                                Professional Fees

                   Atty     Description                                               Hours        Amount
     08/01/12      JCS      Review Silent Standby agreement.                           0.40         104.00
     08/01/12      JCS      Attention to issues regarding proposal for tax return      0.40         104.00
                            preparation.
     08/07/12      JCS      Attention to issues regarding motion for final             0.20          52.00
                            distribution.
     08/10/12      JCS      Attention to issues regarding distribution.                0.30          78.00
     08/10/12      JCS      Review and revise 7th report.                              1.30         338.00
     08/15/12      JCS      Strategize regarding final distribution.                   0.60         156.00
     08/15/12      JCS      Review and revise email to Securities and Exchange         0.20          52.00
                            Commission regarding same.
     08/20/12      JCS      Attention to issues regarding data entry work for tax      0.60         156.00
                            returns.
     08/20/12      JCS      Draft to M. Berger regarding same.                         0.20          52.00
     08/21/12      JCS      Attention to issues regarding tax return preparation.      0.40         104.00
     08/22/12     JCS       Attention to issues regarding motion for final             0.40         104.00
                            distribution.
     08/23/12      JCS      Attention to issues regarding 2nd distribution and late    0.30          78.00
                            claimant distribution.
     08/24/12      JCS      Attention to issues regarding Marcum data for tax          0.20          52.00
                            returns.
     08/27/12     JCS       Review and respond to investor inquiries.                  0.20          52.00
    08/28/12      JCS       Attention to issues regarding Cassazza settlement.         0.20          52.00
    08/30/12      JCS       Attention to issues regarding tax returns.                 0.30          78.00
    08/31/12      JCS       Attention to issues regarding CFF receivership             0.30          78.00
                            process.



                                                      EXHIBIT

                                                I         A
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     Bill# 6611                                                                              Page 2

                                               Professional Fees

                   Atty   Description                                          Hours        Amount

     09/05/12      JCS    Prepare for call with CFF Receiver.                   0.30          78.00
     09/05/12      JCS    Attend call with CFF Receiver and P. Rengstl.         0.30          78.00
     09/05/12      JCS    Strategize regarding same.                            0.20          52.00
     09/05/12      JCS    Review email regarding same.                          0.10          26.00
     09/11/12      JCS    Attention to issues regarding tax returns.            0.30          78.00
     09/11/12      JCS    Attention to issues regarding claim amount.           0.20          52.00
     09/17/12      JCS    Review investor emails.                               1.20         312.00
     09/17/12      JCS    Attention to issues regarding reserve amount and      0.30          78.00
                          distribution.
     09/22/12      JCS    Review and respond to inquiries from investors.       0.40         104.00
     10/01 /12     JCS    Attention to issues regarding investor claim          0.20          52.00
                          percentage.
     10/03/12      JCS    Attention to issues regarding final distribution.     0.30          78.00
     10/04/12      JCS    Attention to issues regarding late claimant.          0.40         104.00
     10/04/12      JCS    Attention to issues regarding second distribution.    0.20          52.00
     10/04/12      JCS    Review and revise letter to investors.                0.30          78.00
     10/05/12      JCS    Attention to issues regarding balance in accounts.    0.60         156.00
     10/10/12      JCS    Attention to issues regarding distribution.           0.30          78.00
     10/10/12      JCS    Review L. Duston e-mail regarding CFF investors.      0.20          52.00
     10/15/12      JCS    Review IRS letter.                                    0.10          26.00
     10/19/12      JCS    Update website regarding distribution.                0.20          52.00
     10/22/12      JCS    Attention to issues regarding CFF payments.           0.30          78.00
     10/26/12      JCS    Review and respond to investor e-mails regarding      0.60         156.00
                          1099.
     10/30/12      JCS    Review 4140 forms.                                    0.20          52.00
     10/31/12      JCS    Prepare for call with CFF receiver.                   0.20          52.00
     10/31/12      JCS    Attend call with CFF receiver.                        0.40         104.00
     11/01/12      JCS    Strategize regarding Equity Trust and valuation       0.90         234.00
                          forms.
     11/01/12      JCS    Strategize regarding F. Freedman settlement.          0.10          26.00
     11/01/12      JCS    Draft letter to investors.                            0.40         104.00
     11/01/12      JCS    Review J. Gambles e-mail regarding GAMA and           0.30          78.00
                          strategize regarding same.
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     Bill# 6611                                                                                 Page3

                                              Professional Fees

                   Atty   Description                                             Hours        Amount

     11/01/12      JCS    Review CFTC trial order.                                 0.10          26.00
     11/02/12      JCS    Attention to issues regarding F. Franklin payment.       0.10          26.00
     11/06/12      JCS    Attention to issues regarding receivership accounts.     0.30          78.00
     11/06/12      JCS    Review F. Friedman agreement.                            0.40         104.00
     11/07/12      JCS    Attention to issues regarding Silent Standby             0.40         104.00
                          agreement.
     11/08/12      JCS    Prepare for call with F. Friedman.                       0.30          78.00
     11/08/12      JCS    Attend call with F. Friedman.                            0.20          52.00
     11/08/12      JCS    Strategize regarding call with F. Friedman.              0.20          52.00
     11/09/12      JCS    Attention to issues regarding reserve amount.            0.30          78.00
     11/12/12      JCS    Attention to issues regarding F. Friedman settlement.    0.20          52.00
     11/19/12      JCS    Review subpoena.                                         0.10          26.00
     11/25/12      JCS    Review and respond to inquires.                          0.20          52.00
     12/02/12      JCS    Review and revise letter to G. Centar's counsel.         0.10          26.00
     12/05/12      JCS    Attention to issues regarding passport.                  0.20          52.00
     12/05/12      JCS    Strategize regarding CFF claim.                          0.40         104.00
     12/05/12      JCS    Conference with L. Duston regarding CFF claim.           0.20          52.00
     12/05/12      JCS    Review TD Bank letter regarding P. Milton account.       0.10          26.00
     12/11/12      JCS    Review R. Geary letter.                                  0.10          26.00
     12/13/12      JCS    Conference with R. S.                                    0.30          78.00
     12/13/12      JCS    Review and revise motion for contempt.                   0.30          78.00
     12/17/12      JCS    Revise letter to B. Center's counsel.                    0.20          52.00
     12/20/12      JCS    Review L. Duston emails regarding CFF resolution.        0.30          78.00
    12/21/12       JCS    Attention to investor letter requesting "no further      0.20          52.00
                          distributions" certification.
    12/21/12       JCS    Review second communication from investor and            0.20          52.00
                          address same.
    01/09/13       JCS    Attention to issues regarding motion to stay.            0.20          52.00
    01/09/13       JCS    Review order to show cause (Freedman).                   0.10          26.00
    01/09/13       JCS    Review and revise response to order to show cause.       0.30          78.00
    01/14/13       JCS    Strategize regarding 1099's and closing case.            0.30          78.00
    01/15/13       JCS    Review response to motion to compel (Freedman).          0.20          52.00
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    Bill#6611                                                                                  Page4

                                                Professional Fees

                  Atty   Description                                             Hours        Amount
    01/17/13      JCS    Review and revise reply.                                 0.40         104.00
    01/22/13      JCS    Review J. B. letter.                                     0.10          26.00
    01/29/13      JCS    Attention to issues regarding final 1099's               0.40         104.00
    02/06/13      JCS    Attention to issues regarding 1099's.                    0.40         104.00
    02/11/13      JCS    Prepare for call with CFF receiver.                      0.80         208.00
    02/11/13      JCS    Attend same with P. Rengstl and L. Duston.               0.40         104.00
    02/12/13      JCS    Review and revise letter to equity trust.                0.30           78.00
    02/12/13      JCS    Conference with CFF receiver regarding settlement        0.20           52.00
                         of claim amount.
    02/12/13      JCS    Strategize regarding same.                               0.30           78.00
    02/13/13      JCS    Review and revise CFF motion and order.                  0.40         104.00
    02/15/13      JCS    Review D. Appeal email.                                  0.10           26.00
    02/19/13      JCS    Review and respond to investor inquiries.                0.30           78.00
    03/04/13      JCS    Review Franklin Freedman order.                          0.10           26.00
    03/07/13      JCS    Review CFF receiver's damages to motion to modify        0.20           52.00
                         claim amount.
    03/19/13      JCS    Review and revise final report.                          0.40         104.00
    03/19/13      JCS    Review and revise motion to close receivership.          0.80         208.00
    03/21/13      JCS    Review and revise final report.                          0.30           78.00
    03/21/13      JCS    Review and revise order closing receivership.            0.10           26.00
    03/22/13      JCS    Review F. Friedman response to order to show             0.20           52.00
                         cause.
    04/03/13      JCS    Review letter to G. Center.                              0.10           26.00
    04/03/13      JCS    Review and revise motion to close receivership.          0.90         234.00
    04/04/13      JCS    Review and revise affidavit regarding Silent Standby.    0.30           78.00
    04/08/13      JCS    Attention to issues regarding F. Friedman settlement.    0.30           78.00
    04/08/13      JCS    Review and respond to CFF receiver emails.               0.20           52.00
    04/11/13      JCS    Attend to issues regarding Franklin settlement.          0.20           52.00
    04/18/13      JCS    Prepare for testimony in CFTC hearing.                   0.30           78.00
    04/19/13      JCS    Prepare for testimony in CFTC proceeding.                4.30        1, 118.00
    04/22/13      JCS    Attend meeting with CFTC counsel.                        4.80        1,248.00
    04/23/13      JCS    Prepare for testimony in CFTC proceeding.                1.80         468.00
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     Client Ref:      78509 - 003                                                         June 18, 2013
     Bill# 6611                                                                                 Page 5

                                                 Professional Fees

                   Atty    Description                                            Hours        Amount
     04/23/13      JCS     Review W. Center motion to continue.                    0.10          26.00
     04/24/13      JCS     Attend and testify at CFTC hearing.                     8.70       2,262.00
     05/02/13      JCS     Review discharge order.                                 0.10          26.00
     05/02/13      JCS     Draft final status letter.                              0.20          52.00
     05/16/13      JCS     Attention to issues regarding F. Franklin money.        0.10          26.00
     05/16/13      JCS     Attention to issues regarding P. Stenger motion.        0.20          52.00
     05/17/13      JCS     Review W. Center judgment.                              0.30          78.00
     05/21/13      JCS     Attention to issues regarding CFF receiver claim.       0.20          52.00

                                                   Fee Summary

                   Name                                                   Hours                Amount
                   Jeffrey C. Schneider                                   51.80              13,468.00

                                     Total Fees                           51.80             $13,468.00

     Current Bill Total Amount Due                                                          $13,468.00
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                    Please return this page with remittance
                                                    to
                           Levine Kellogg Lehman Schneider+ Grossman LLP
                                        22nd Floor, Miami Center
                                          201 S. Biscayne Blvd.
                                          Miami, Florida 33131

     Bill#            6611
     Bill Date:       June 18, 2013
     Client Code:     78509
     Client Name:     Jeffrey C. Schneider, as Receiver
     Matter Code:     003
     Matter Name:     Trade LLC - Receivership

                                        Current Bill Total Amount Due      $13,468.00


                     Amount enclosed:   ~~~~~~~~~~~~~~-
